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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                       :
                                               :         CRIMINAL NO. JKB-19-0283
       v.                                      :
                                               :         UNDER SEAL
LATONYA HAYES                                  :
                                             …o0o…


        MOTION TO SEAL GOVERNMENT’S SENTENCING MEMORANDUM

       The Government requests that the Court order that the attached Sentencing Memorandum,

and this Motion and Order be sealed until further order of the Court, and in support says as follows:

               1.      The above captioned



               2.



                .

               3.

                                                                                                   .

               4.



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               5.

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       WHEREFORE, the Government respectfully moves to seal the Sentencing Memorandum,

and this Motion to Seal and Order

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                                          Respectfully submitted,

                                          Erek L. Barron
                                          United States Attorney


                                        By:___________________________
                                          James T. Wallner
                                          Assistant United States Attorney




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